 Case:17-06925-BKT11 Doc#:163 Filed:03/13/19 Entered:03/13/19 08:26:46    Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                               THE DISTRICT OF PUERTO RICO
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 3
     IN RE:                                  CASE NO. 17-06925-BKT11
 4    COLONIAL MEDICAL MANAGEMENT CORP       Chapter 11

 5

 6
     XX-XXXXXXX
 7
                   Debtor(s)                    FILED & ENTERED ON MAR/13/2019
 8

 9                                ORDER DISMISSING CASE

10         Upon Debtor’s failure to timely comply with the court’s order at docket

11   entry #161, it is now

12         ORDERED that this case be and hereby is dismissed with a bar to refile

13   for one (1) year; and it is further

14         ORDERED that the Clerk shall dismiss and close any contested matter or

15   adversary proceeding related to the instant case.

16         IT IS SO ORDERED.

17         In San Juan, Puerto Rico, this 13 day of March, 2019.

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